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EXHIBIT 9

Statement of William J. FoX, Director
Financial Crimes Enforcement United States
Department of Treasury Before the House of

Representatives, June 16, 2004

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STATEM NT oF WILLIAM J. FoX
DIREcToR
FINANCIAL C Es ENFORCEMENT NETWORK
UNITED STATES EPARTMENT 0F THE TREAsuRY

BEFoRE
HOUSE CoMM TTEE oN FlNANClAL SERVICES
SUBCOMMITTEE oN OVERSIGHT AND INvEsTIGATIoNs

JUNE 16, 2004

Chairwoman Kelly, Congressman Gutierrez, and members of the Subcommittee,
thank you for this opportunity to appear before you today to discuss the mission of the
Financial Crimes Enforcement Network (FinCEN) and the important role it plays in the
Department of the Treasury and the United States government’s efforts as a whole to
understand, detect, and prevent financial crimes and terrorist financing Although this is
my first time as a witness before this Subcommittee, I have followed the committee’s
leadership on issues relating to terrorist financing and money laundering and am very
honored to appear before you today.

I became FinCEN’s fourth director on December l, 2003. Bef`ore I came to
FinCEN, l was working as the principal assistant to the General Counsel of the Treasury
Department on issues relating to terrorist financing, which were issues that occupied a
great deal of my time. Coming from the Department, I understood, to a large extent, the
nature of FinCEN’s responsibilities and what it was doing to carry out the obligations
imposed by these responsibilities In these six months, I have done a great deal of
listening and learning from inside and outside of FinCEN. I have met extensively with
the law enforcement and intelligence communities that we serve and the financial
industry that we help regulate. I have met with and listened to the staffs of interested
committees in the Congress - including this committee I have met with some of my
counterparts in foreign governments and communicated with many more; and, of course,
I have had a continuous dialogue and received tremendous support from those at
Treasury - including Secretary Snow, Deputy Secretary Bodman, and Deputy Assistant
Secretary Zarate.

Now, six months later I believe I have a clear idea of what FinCEN’s mission
means in real terms --the challenges FinCEN is facing in carrying out its obligations;
what needs to be done to meet those challenges and how FinCEN’s mission supports the
Department of the Treasury’s efforts to safeguard the nation’s financial system. Let me
begin with a discussion of our mission and its attendant responsibilities I believe it is
essential to have a clear understanding of FinCEN and its role in preventing financial
crime to understand how its ability to fulfill its obligations will be enhanced under the
Office of Terrorism and Financial Intelligence.

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FinCEN is charged with helping to safeguard the financial system of the United
States from being abused by criminals and terrorists. FinCEN works to accomplish its
mission through: (l) administration of the Bank Secrecy Act - a regulatory regime that
provides for the reporting of highly sensitive financial data that are critical to
investigations of financial crime; (2) dissemination of the data reported under the Bank
Secrecy Act to law enforcement and, under appropriate circumstances, the intelligence
community; (3) analysis of information related to illicit finance - both strategic and
tactical analysis; and, (4) education and outreach provided to law enforcement and the
financial industry on issues relating to illicit finance. FinCEN has many attributes that
are key to understanding the agency:

o FinCEN is a regulato)jy agency. FinCEN has an obligation to administer the
Bank Secrecy Act, the principal regulatory statute aimed at addressing the
problems of money laundering and other forms of illicit finance, including
terrorist financing lt is responsible for shaping and implementing this regulatory
regime and, in concert with the functional bank regulators and the Internal
Revenue Service, for ensuring compliance with the regime. The agency is also
charged with protecting the integrity and confidentiality of the information
collected under the Bank Secrecy Act.

0 FinCEN is a financial intelligence agency. While not a member of the
intelligence community, FinCEN is responsible for ensuring the efficient and
timely collection, maintenance, analyses and dissemination of financial
information critical to investigations of illicit finance.

0 FinCEN is a law enforcement support agency. While FinCEN has no criminal
investigative or arrest authority, much of our effort supports the investigation and
successful prosecution of financial crime.

v FinCEN is a network. We are not directed to support one agency or a select
group of agencies We make our inforrnation, products and services available to
all agencies that have a role in investigating illicit finance. In fact, We network
these agencies. Our technology tells us when different agencies are searching the
same data and we put those agencies together _ avoiding investigative overlap and
permitting the agencies to leverage resources and information

FinCEN fits perfectly in the Department of the Treasury, possibly even more so
after the Homeland Security reorganization than before that reorganization The creation
of the Office of Terrorism and Financial Intelligence within Treasury only enhances that
fit. FinCEN will be able to help “operationalize” Treasury’s policy priorities on these
important issues and our operational analytic work will complement the analysis that will
eventually be done in the newly created Office of Financial Intelligence I believe this
coordinated effort will lead to a greater emphasis and understanding of money
laundering, terrorist financing and other forms of illicit finance not only at Treasury, but

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within the United States, and that will make us all safer. FinCEN will also benefit from
the Department-wide, policy-coordinating role this office will provide.

I. Background

By virtue of a delegation order from the Secretary of the Treasury and a statute
passed as part of the USA PATRIOT Act, FinCEN is charged with the responsibility of
administering the regulatory regime of the Bank Secrecy Act. Among other things, we
issue regulations and accompanying interpretive guidance; collect, analyze and maintain
the reports and information filed by financial institutions under the Bank Secrecy Act;
make those reports and information available to law enforcement and regulators; and
ensure financial institution compliance with the regulations through enforcement actions
aimed at applying the regulations in consistent manner across the financial services
industry. FinCEN also plays an important role in analyzing the Bank Secrecy Act
information collected to support law enforcement, identifying strategic money laundering
and terrorist financing trends and patterns, and identifying Bank Secrecy Act compliance
issues.

FinCEN Was created as an office within Treasury in 1990. Its original mission
was focused on analysis - both tactical and strategic - of data collected under the Bank
Secrecy Act along with other financial data. Treasury’s Office of Financial Enforcement
(OFE) was originally responsible for the administration of the Bank Secrecy Act
regulatory regime. In 1994, Treasury merged OFE into FinCEN and delegated the
responsibility to administer the regulatory regime to FinCEN. Treasury sought to link the
analytical functions with the administration of the regulatory regime that dictated the
information that financial institutions were required to record and report. Adding
responsibilities for administering the regulatory regime strengthened and expanded
FinCEN’s analytical and intelligence abilities.

While FinCEN is responsible for ensuring compliance with the Bank Secrecy Act
regulatory regime, FinCEN does not itself examine financial institutions for compliance.
Instead, FinCEN taps the resources and expertise of other Federal agencies and self-
regulatory organizations by relying on these agencies to conduct compliance exams,
through delegations of authority that largely predated FinCEN. Examination
responsibility has been delegated to other federal regulators as follows:

0 Depositoly Institutions - The Board of Governors of the Federal Reserve
System, the Office of the Comptroller of the Currency, the Federal Deposit
Insurance Corporation, the Office of Thrift Supervision, and the National
Credit Union Administration have been delegated authority to examine the
depository institutions they regulate for Bank Secrecy Act compliance.

v Securities Broker-Dealers, Mutual Funds, and Fulures Commission
Merchants/Introducing Brokers - FinCEN has delegated examination
authority to the Securities and Exchange Commission and the Commodity
Futures Trading Commission, and relies on their self-regulatory agencies

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(such as the NASD, the NYSE, and the NFA) to examine these entities for
compliance

o Other Financial Institutions - The Intemal Revenue Service (Small
Business/Self-Employed Division) has been delegated responsibility for
examining all other financial institutions subject to Bank Secrecy Act
regulation for compliance, including, for example, depository institutions with
no federal regulator, casinos, and Money Services Businesses (MSBs).

Even in the absence of examiners, FinCEN has an important role in supporting the
examination regime created through our delegations. FinCEN’s role involves providing
prompt Bank Secrecy Act interpretive guidance to regulators, policy makers and the
financial services industry, and ensuring the consistent application of the Bank Secrecy
Act regulations across industry lines, most notably through the rule-making process and
subsequent guidance We promote Bank Secrecy Act compliance by all financial
institutions through training, education and outreach. We support the examination
functions performed by the other agencies by providing them access to information filed
by financial institutions in suspicious activity reports, currency transaction reports, and
other Bank Secrecy Act reports. We also facilitate cooperation and the sharing of
information among the various financial institution regulators to enhance the
effectiveness of Bank Secrecy Act examination and, ultimately, industry compliance

FinCEN has retained the authority to pursue civil enforcement actions against
financial institutions for non-compliance with the Bank Secrecy Act and the
implementing regulations. Under the Bank Secrecy Act, FinCEN is empowered to assess
civil monetary penalties against, or require corrective action by, a financial institution
committing negligent or willful violations.

Generally, FinCEN identifies potential enforcement cases through (1) referrals
from the agencies examining for Bank Secrecy Act compliance; (2) self-disclosures by
financial institutions; and, (3) FinCEN’s own inquiry to the extent it becomes aware of
possible violations Referrals from the examining agencies are regularly made to
FinCEN. It should be noted that under Title 12, the banking regulators have authority to
enforce certain regulations that fall under that statute as well as under the Bank Secrecy
Act, such as the requirement that depository institutions have anti-money laundering
programs In addition, the Internal Revenue Service has authority to enforce certain
Bank Secrecy Act requirements including the IRS/FinCEN Form 8300 reporting for non-
financial trades and businesses, and the Report of Foreign Bank and Financial Accounts
by individual and entities.

II. F in CEN ’s Counter-Terrorism .S'trategy

The single, most important operational priority for FinCEN is counter-terrorism
support to law enforcement and the intelligence community. To emphasize the
importance of this work we have improved and are now implementing a comprehensive
counter-terrorism strategy that draws from our analytic support to law enforcement, our

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regulatory tools and expertise, and our international networking capabilities We believe
the implementation of this strategy will strengthen our focus and ensure that FinCEN is
more active and aggressive rather than reactive on issues relating to terrorism. The
strategy has five basic components

A. Analvsz's of Terrorist Financing Suspicious Actz'vitv Reports

FinCEN analyzes suspicious activity reports for both tactical and strategic value.
At the tactical level, we are implementing a program in which every report that indicates
a connection to terrorism is immediately reviewed and validated and then analyzed with
other available information This information will be packaged and referred to the
Terrorist Threat Integration Center (TTIC), FBI-TFOS, and other relevant law
enforcement Moreover, this information will be stored in a manner that facilitates its
access and availability for analysis

At the strategic level, we are also devoting analysts to studying Bank Secrecy Act
data and all other available information to gain an increased understanding of
methodologies typologies, geographic patterns of activity and systemic vulnerabilities
relating to terrorist financing These analysts will focus on regional and systemic “hot
spots” for terrorist financing studying and analyzing all sources of inforrnation, Such
focus, which produced the study mandated by the Congress on Informal Value Transfer
Systems, can significantly add to the knowledge base of law enforcement, For example,
we have begun a process to comprehensively study illicit trade in diamonds and other
precious stories and metals and the links to terrorist finance Although this initiative is
currently underway, in order to fully implement it, we will need to upgrade analysts’
security clearances and obtain equipment appropriate for the handling of national security
information

B. USA PA TRIOTAct Sections 311 and 314 lmplementation

Some of the new tools afforded us through the USA PATRIOT Act are proving to
be invaluable in the war against terrorist financing particularly Section 314 of the Act.
FinCEN also has initiated a program to provide the analytic, regulatory and legal
resources needed to support effective implementation of Section 311 by the Treasury
Department. While this program captures targets involved in money laundering and
other illicit finance, I have directed my staff to give priority to the pro-active targeting of
those financial institutions and jurisdictions that are involved, wittingly or unwittingly, in
the financing of terror. This prophylactic measure goes to the very heart of FinCEN’s
mission - to safeguard the financial system of the United States from money launderers
and the financiers of terror.

Building on a successful pilot program that we began with the Bureau of
Immigration and Customs on a 314(a) money-laundering request, FinCEN is now
dedicating several analysts to apply this program to all 314(a) terrorism requests
Specifically, the analysts Will run all 314(a) terrorism-related requests against Bank
Secrecy Act data concurrent with these requests being sent to financial institutions

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Based on this initial data review, the law enforcement requester will then be able to
request a more in-depth analysis if desired. I will provide additional details on this
valuable tool later in my testimony.

C. Internatianal Cooperation and Information Sharing

FinCEN will increase the exchange of terrorist financing investigative and
analytical information with other foreign financial intelligence units around the world.
We are implementing a program where FinCEN will automatically request information
from relevant financial-intelligence-unit counterparts as part of any terrorism-related
analysis proj ect. As part of this program, We are also upgrading our response to
incoming requests for information from financial intelligence units by providing
appropriate information and analysis from all sources of information

D. Terrorism Regulatog Outreach

We will continue our work in improving our ability to provide information to the
regulated community to better identify potential terrorist financing activity. One area of
particular focus will be money services businesses Money services businesses continue
to require more attention and resources, and FinCEN will undertake an initiative to
educate segments of the industry most vulnerable to terrorist abuse. These segments
include small businesses that typically offer money remittance services check cashing,
money orders, stored value products and other informal value transfer systems As we
learned from the attacks of September ll“‘, funds used to finance terrorist operations can
be and have been moved in small amounts using, for example, wire transfer, traveler’s
check and automated teller machine services I have directed FinCEN’s Office of
Regulatory Programs and the Office of Strategic Analysis to enhance our outreach
program to include: training on how terrorists have used and continue to use money
services businesses; the reason for and importance of the registration requirement for
money services businesses; and the importance of complying with the reporting
requirements of` the Bank Secrecy Act, especially suspicious activity reporting We are
planning to streamline suspicious activity reporting for small money services businesses
with a simplified form.

E. Analytic Skill Develogment

As a general matter, I have directed that FinCEN make training of personnel the
highest human resource management priority. The top priority of this new program will
be analytic skill development relating to terrorist financing We plan to begin by seeking
reciprocal opportunities for terrorist finance analytic skill development within law
enforcement, the Egmont Group, the intelligence community and the financial industry.
This initiative is intended to build a foundation for continuous improvement of our
analytic assets througli: cross training and diversification; production of joint terrorist-
financing threat assessments and other reports; and, understanding intelligence processes
and the international context of terrorist financing as well as the financial industry
perspective In addition, we will need to support training focused on financial forensics,

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language skills, and geographically targeted studies that focus on culture, infrastructure
and other unique aspects of a particular region.

I believe the full implementation of this strategy will materially assist the
Department of the Treasury and the United States in addressing the financing of terror.
Approaching this problem in a systemic way with dedicated resources is, in our view, the
best way to make this strategy a success

III. FinCEN’s Near Term Challenge_s

As I mentioned before, FinCEN is facing a number of significant challenges
Because each of these challenges affects FinCEN’s effectiveness in contributing to the
important issues addressed at this hearing today, I would like to raise these challenges
with the committee

A. Securi and Dissemination 0 Bank Secrec Act In ormation

As the administrator of the Bank Secrecy Act, there is no duty I view as critical as
the effective collection, management and dissemination of the highly sensitive and
confidential information collected under that Act. If FinCEN does nothing else, it must
ensure that data are properly collected, are secure and are appropriately and efficiently
disseminated This is FinCEN’s core responsibility

Regarding security of inforrnation, recent press reports have reported the
unauthorized disclosure of suspicious activity reports Such disclosures simply cannot be
tolerated, as they undermine the entire reporting program. Those who report this
information will become increasingly reticent to file what amounts to a confidential tip to
law enforcement if they believe their report will end up on the front page of the
Washz'ngton Post or the Wall Street Journal. The release of this information by those to
whom it was entrusted threatens everything that we all have worked so hard to build. I
know I do not have to convince this Subcommittee of the importance of this reporting
system. It has yielded, and will continue to yield, information that is critical to the
investigation of money laundering and illicit finance I also wish to assure this
Subcommittee and the American people that FinCEN is acutely aware of the privacy
interests implicated in this reporting and the need to guard against inappropriate
disclosure of such inforrnation, Unauthorized disclosure of information will be
immediately referred to law enforcement for investigation and dealt with as severely as
the law permits Our international partners who inappropriater disclose information we
have entrusted to them will jeopardize our agreements to share information with them.

However, this issue goes deeper than unauthorized disclosures In my view,
FinCEN must change the way it houses and provides access to information collected
under the Bank Secrecy Act. Currently, our data are accessed by most of our customers
through an outmoded data retrieval system. This system does not have the robust data
mining capabilities or analytical tools we employ at FinCEN. This has led many of our
customers to ask for wholesale copies of the data, or direct access to the data in a way

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that will not permit us to perform our responsibilities relating to the administration and
management of the data. This is not simply a question of employing better technology.

It is a matter of sound governance FinCEN cannot permit this inability to control the
data we are charged with managing to continue Accordingly, we must create a system
that provides robust data mining and analytical tools to our customers in law enforcement
and that preserves our ability to: (l) effectively administer and secure the information;
(2) network those persons who are querying the data to prevent overlapping
investigations and encourage efficient use of law enforcement resources; and, (3) develop
and provide adequate feedback to the financial industries we regulate, which will ensure
better reporting That system is called “BSA Direct.”

When fully implemented, BSA Direct will make available robust, state-of-the-art,
data mining capabilities and other analytic tools directly to law enforcement, We plan to
provide all access to these data through BSA Direct, working with our law enforcement
customers to ensure their systems extract the maximum value from the Bank Secrecy Act
reporting We will be exploring Ways to enable these agencies to integrate the Bank
Secrecy Act reporting with their other systems while maintaining and even improving
our ability to audit and network the use of the data and obtain feedback concerning their
value. This system will provide us the capability to discharge our responsibilities relating
to the administration of these sensitive data: security and access control, networking and
feedback. This system will also significantly enhance our coordination and information
sharing abilities as well as our ability to safeguard the privacy of the information We
have already started work on this system. Based on preliminary studies we estimate that
this system will cost approximately $6 million to build. We are in the process of
developing BSA Direct with resources in the FY2005 request and the forfeiture fund.

B. Enhancing FinCEN ’s Analytical CaQabilz`ties

Another challenge FinCEN is facing relates to its analytic capabilities In my
view, FinCEN must move away from its current emphasis on data checks and data
retrieval, and move its analytic resources toward more robust and sophisticated analysis
FinCEN had moved to data checks and data retrieval in response to criticisms about turn
around times on often simple requests for information Now, as our systems improve,
our customers will be able to retrieve data themselves which will give FinCEN more
time and resources for analysis

I believe that FinCEN can and must provide value through the application of our
focused financial analytic expertise to mining information and providing link analyses
that follow the money of criminals and terrorists, or identify systemic or geographic
Weaknesses to uncover its source or the existence of terrorist networks For example, in
addition to providing geographic threat analysis for law enforcement, FinCEN has been
studying systemic trends in money laundering and terrorist financing We were
instrumental in bringing the black market peso exchange system to the forefront of policy
decisions and we are focusing on other trends and patterns that we now see emerging in
the global market. I recently made a trip to Dubai to participate in the growing dialogue
on the potential use of diamonds and other commodities for illicit purposes, including

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money laundering and terrorist financing This is part of our focus on and study of what
may be another iteration of money laundering and terrorist financing - commodity-based
systems

In my view, while FinCEN has some of the best financial analytic talent in the
United States govemment, the challenges we face require us to further develop that talent
to enable the full exploitation and integration of all categories of financial information -
well beyond Bank Secrecy Act information I have directed FinCEN’s managers to
concentrate on training, as well as the hiring of new, diverse financial analytic expertise

C. Enhancing FinCEN’s Technology

As I have mentioned, information sharing is critical to our collective efforts to
detect and thwart criminal activity and that is why I believe enhancing our technological
capabilities is extremely important Section 314(a) of the USA PATRIOT Act allows law
enforcement to query United States financial institutions about suspects businesses and
accounts in money laundering and counter terrorism investigations FinCEN facilitates
this interaction between the financial industry and law enforcement by electronically
sending law enforcement requests to various banks who in turn check their records and
relay the information back to FinCEN to then provide to the requestor. This saves law
enforcement time and resources We are currently enhancing the Section 314(a)
electronic capabilities to allow for the originating request to be made to FinCEN via a
secure website. This system is an example of how critical technology is to our law
enforcement counterparts

We must continue to work to enhance the development of the BSA e-filing
system-a system that permits the electronic filing of reports required under the Bank
Secrecy Act. This system was developed and brought on-line under a very tight
legislative deadline FinCEN received the E-GOV award for its work on this system.
Filing these forms on-line is not only more efficient; it will help eliminate some of the
data errors and omissions

As of April 19, 2004, 1.2 million Bank Secrecy Act forms had been electronically
filed through this system. We now support nearly 1,100 users which include 15 of the
top 25 filers of Bank Secrecy Act information These top 25 filers accounted for
approximately 50% of all Bank Secrecy Act forms filed in fiscal year 2003. While this is
all good news, the bad news is that the current number of forms filed electronically
remains quite small on a percentage basis The 1.2 million forms filed represents only
approximately 5% of the universe of all Bank Secrecy Act reports filed. I have directed
our PATRIOT Act Communications System team to reach out to the financial industry
and determine what needs to be done to convince them to file electronically. As we learn
about what is holding institutions back from filing, I have directed our team to work
closely with system developers to build the system stability and tools necessary to
improve the overall percentage of filing

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FinCEN presently lacks the capacity to detect Bank Secrecy Act form filing
anomalies on a proactive, micro level. BSA Direct, which will integrate Bank Secrecy
Act data (including currency transactions reports currency transaction reports by casinos
and currency transaction reports by casinos - Nevada) into a modern data warehouse
environment, will include tools to flag Bank Secrecy Act form filing anomalies for action
by FinCEN and/or referral to appropriate authorities In the meantime FinCEN is
developing a request to the Intemal Revenue Service’s Detroit Computing Center to
provide periodic exception reports on financial institutions whose Bank Secrecy Act form
filing-volume varies beyond prescribed parameters during prescribed time frames While
we will not be able to conduct the sophisticated monitoring that will be available with
BSA Direct, this interim step should produce an alert in the event of a catastrophic failure
to file forms as was experienced in the Mirage case in which the Mirage Casino in Las
Vegas failed to file over 14,000 currency transaction reports in an lS-month period.

D. Enhancz'ng FinCEN ’s Regylatol_'g Programs

The administration of the regulatory regime under the Bank Secrecy Act is a core
responsibility for FinCEN. Given the nature of our regulatory regime - a risk-based
regime - our partnership with the diverse businesses in the financial services industry is
the key to our success The industry’s cooperation with FinCEN in implementing many
of the provisions of the USA PATRIOT Act has strengthened the foundation of our
efforts to safeguard the financial system from criminal abuse and terrorist financing I
have met With many of our industry partners in the last several months both old and new,
and l have been struck with how concerned they are that the information they provide is
helpful and that it is being reviewed and used. In tum, FinCEN is committed to
enhancing the guidance they need as they strive to meet the requirements and objectives
of new regulations

The challenge before FinCEN on this issue is simple: we must ensure the
remaining regulatory packages required by the USA PATRIOT Act are completed and
implemented, Moreover, as we work with our regulatory partners to implement this
regulatory regime, we must provide constant feedback and guidance We have asked the
industry to create anti-money laundering programs that are risk-based - custom tailored
to each institution based upon the business in which that institution engages and the
customers that institution has We must find ways to help the industry define that risk.
Development of secure Web-based systems that will foster the communication discussed
above is a step in the right direction But we must continue to find new and better ways
to reach out to the industry. They understand the threat money laundering and illicit
finance poses to our financial system and they are willing to help.

Perhaps the most significant challenge lies in ensuring that financial institutions
are appropriately examined for compliance As you know, we have issued and will
continue to issue anti-money laundering program regulations that will bring new
categories of businesses under this form of Bank Secrecy Act regulation for the first time
This reflects the judgment of this Committee embodied in the USA PATRIOT Act, as
well as ours that to effectively guard against money laundering and the financing of

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terrorism, we must ensure that industries with potential vulnerabilities are taking
reasonable steps to protect themselves

But the expansion of the anti-money laundering regime comes with the additional
responsibility and challenges of examining thousands of businesses for compliance, We
have relied on the Intemal Revenue Service to examine those non-bank institutions The
addition of the insurance industry and dealers in precious stones metals and jewels two
categories of financial institutions for which we will shortly issue final anti-money
laundering program regulations will themselves stretch the resources of agencies
responsible for examination We must find ways to ensure that these regulatory programs
are implemented in a fair and consistent manner that is focused on achieving the goals of
the Bank Secrecy Act. Although difficult, this is an issue that must be resolved.

E. lmproving Coordination Among our Regulatorv, lndustrv & Law Enforcement Partners

Coordination among the regulators industry, and law enforcement is the lynchpin
of effective Bank Secrecy Act compliance Since the passage of the USA PATRIOT Act,
cooperation has only improved On our side, we have developed a much closer working
and collaborative relationship with the regulators on all aspects of Bank Secrecy Act
administration This has been reflected in the process of developing the new regulations
conducting outreach and training for the industry, and focusing on specific compliance
issues Indeed, provisions of the Act such as the customer identification section required
that FinCEN and the regulators issue regulations jointly.

With respect to examinations last month the Bank Secrecy Act Advisory Group
formed a subcommittee devoted to identifying ways to better ensure examination
consistency among the various regulatory agencies and industries Representatives from
industry, the regulatory agencies and law enforcement will participate This
subcommittee is yet another vehicle through which FinCEN and the regulators can
address the range of examination issues with the common goal of enhancing compliance
on a national basis

In this context and elsewhere, we will all have to identify creative ways to
facilitate continued cooperation Some ideas that I hope to explore with my colleagues
include:

0 Ia'entijication of Common Compliance Defz`cienci'es

Better identification of compliance issues revealed through the examination
process on an interagency scale is an essential aspect of enhancing the overall
effectiveness of the Bank Secrecy Act regulatory regime FinCEN must play a key role
in facilitating that process by encouraging the regular sharing of common compliance
deficiencies uncovered by the regulators Summaries of deficiencies identified in
financial institutions will expose areas to be addressed, interpretive questions to be
answered, or even inconsistencies with the regulations themselves Based on this
inforrnation, FinCEN and the regulators would be able to focus its outreach and guidance
efforts on emerging possibly systemic problem areas affecting one or more financial

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industries Similarly, regulators would be able to better focus their examination resources
on such areas This data would also enhance the ability of FinCEN and the regulators to
target their examinations and develop strategic examination goals across industry lines

0 Creation of an Examination Program Office

Within FinCEN’s regulatory office, we will create a new program office devoted
solely to the Bank Secrecy Act examination function Currently, the affected substantive
program area handles examination related issues on an ad-hoc basis For example,
individuals responsible for the Money Services Business program have taken a primary
role in working with the Internal Revenue Service to develop and enhance their
examination regime The new structure will consolidate all examination support
functions and better enable FinCEN to provide the necessary support to regulatory
agencies conducting Bank Secrecy Act compliance exams As an initial priority, FinCEN
plans to focus on assisting the Intemal Revenue Service in its examination function,
particularly in light of the new regulations that FinCEN has and will issue to bring
thousands of additional businesses under the Bank Secrecy Act anti-money laundering
program provision

0 Joint Examiner Training

As a complement to the established mechanisms through which the regulators
train their examiners we will explore joint training opportunities that will afford FinCEN
the opportunity to supplement the training provided with programs specifically targeted
toward our Bank Secrecy Act compliance goals including the possibility of our
participating in multi-agency, anti-money laundering training at the F ederal Financial
Institution Examination Council.

We have done such training already. For example, FinCEN has conducted joint
training of Intemal Revenue Service examiners on various Title 31 and USA PATRIOT
Act requirements in recent IRS Examiner training classes FinCEN also will be
conducting training at an upcoming meeting of Internal Revenue Service supervisory
level personnel who have Bank Secrecy Act examination responsibility By training at
the supervisory level (training-the-trainer), FinCEN can leverage its limited resources to
help ensure that IRS Bank Secrecy Act supervisory personnel deliver the appropriate
message concerning the content of Bank Secrecy Act examinations to the Intemal
Revenue Service field examinations staff.

F. Enhancing FinCEN 's International Progzams

FinCEN’s international initiatives and programs are driven by a stark reality:
finance knows no borders Next year will mark the tenth anniversary of the founding of
the Egmont Group. The Egmont Group is an international body of “financial intelligence
units” - entities which, like FinCEN, are charged with the collection and analysis of
financial information to help prevent money laundering and other illicit activities The
Egmont Group has achieved remarkable growth since its inception in 1995. Membership
has risen from six charter members to eighty-four.

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The Egmont Group serves as an international network, fostering improved
communication and interaction among financial intelligence units (FlUs) in such areas as
information sharing and training coordination The goal of the Group is to provide a
forum for FIUs around the world to improve support to their respective governments in
the fight against financial crimes This support includes expanding and systematizing the
exchange of financial intelligence inforrnation, improving expertise and capabilities of
personnel employed by such organizations and fostering better and more secure
communication among FIUs through the application of technology.

Egmont’s secure web system permits members of the group to communicate with
one another via secure e-mail, posting and assessing information regarding trends
analytical tools and technological developments FinCEN, on behalf of the Egmont
Group, maintains the Egmont Secure Web. Currently, seventy-six of the eighty-four
members (90%) are connected to the secure web site. I am very pleased to announce that
FinCEN will launch a new and more efficient secure web site for Egmont in June. We
expect this new site will generate more robust usage, which will enhance international
cooperation between members

FinCEN has played a significant role in the growth and health of the Egmont
Group, and it maintains bilateral information sharing agreements with financial
intelligence units around the world. However, in my view, this program has not received
the priority it should have in recent times Merely because of the simple statement I
made earlier - that finance knows no borders - we must step up our international
engagement with our counterparts around the world. Our plan is to do three principal
things:

l. Lead the Egmont Group to begin focusing on actual member collaboration
Egmont members should be collaborating in a more systemic way together to
address issues relating to terrorist financing money laundering and other illicit
finance at both a tactical and strategic level.

2. Enhance the FinCEN analytical products we provide to our global counterparts
when asked for information Today, we are principally providing the results of a
data check. We think we owe our colleagues more As noted before, we will also
be making more requests for information and analysis from our partners -
particularly when the issue involves terrorist financing or money laundering

3. Foster exchanges of personnel with financial intelligence units around the world.
We have already begun discussions with certain counterparts about such an
exchange, and we are hopeful we can begin this program soon The benefits of
this type of exchange are obvious It is the best way we can learn together how to
address a truly global problem.

FinCEN will also enhance its support for Treasury policy officials’ work in the
Financial Action Task Force (FATF) and FATF regional bodies We will continue our

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work with the State Department in the drafting and editing of the “International Narcotics
Control Strategy Report.” Finally, we will continue our important efforts on financial
intelligence unit outreach and training Recently, we conducted, in conjunction with the
United Arab Emirates, a South Asia FIU Conference for Afghanistan, Bangladesh, India,
Maldives, Pakistan and Sri Lanka.

Additionally, FinCEN has given its support and participation to the "3 + l"
Working Group on terrorist financing in the Tri~border Area. The issues of information
sharing and the bolstering of FIUs in the participating states of Argentina, Brazil and
Paraguay are critical issues for the U.S. delegation to the “3+1” Working Group led by
the Department of State’s Of`flce of Counter-Terrorism.

IV. Conclusion
Madam Chairwoman, I appreciate the Subcommittee’s continued support as we endeavor

to enhance our contributions to the war on financial crime and terrorist financing This
concludes my remarks today. I will be happy to answer your questions

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